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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

      v.
                                                        Criminal Action No. 23-00021 (CKK)
 CHARLES F. MCGONIGAL,

           Defendant.



                         MEMORANDUM OPINION AND ORDER
                                (February 12, 2024)

       This matter is set for sentencing on February 16, 2024. On September 22, 2023, Defendant

Charles McGonigal (“Defendant” or “Mr. McGonigal”) entered a plea of guilty to one count of

Concealment of Material Facts, in violation of 18 U.S.C. § 1001(a)(1). See Plea Agreement, ECF

No. 31; see Government Sentencing Memorandum, ECF No., at 2 (indicating that “defendant

failed to disclose the cash he received from Person A on annual public financial disclosure reports

required pursuant to the Ethics in Government Act of 1978, forms known as Office of Government

Ethics Form 278 (“OFE-278”)). At issue in this case is the calculation of Defendant’s total offense

level pursuant to the United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”).

       The Government made several objections to the calculation of Defendant’s offense level

proffered by the Probation Office in its [35] draft Presentence Investigation Report, see

Government Obligation and Response to Presentence Report, ECF No. 36, and Memorandum in

support thereof, ECF No. 36-1. Those objections by the Government were reconciled in the

Probation Office’s [37] final Presentence Investigation Report (“PSR”). See ¶¶ 56, 57, 64

(amended) and 63a (added). Defendant’s base offense level, which was previously calculated as

6, is calculated now as 14, and his total offense level is now 16, as opposed to 6. Defendant


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contests the revised calculation and asserts that the original calculation was correct. See Def.’s

Sent. Mem., ECF No. 40, at 5-8. To determine an appropriate sentence, the Court must first

accurately calculate defendant’s advisory Sentencing Guidelines range. Gall v. United States, 522

U.S. 38, 49-50 (2007). Accordingly, the Court begins by considering the parties’ positions on

calculation of the offense level.

       Defendant’s Offense Level Calculation

       The parties agree that Guidelines Section 2B1.1 applies to offenses involving violations of

18 U.S.C. § 1001 [the crime of conviction], and under that section, Mr. McGonigal’s base offense

level is 6. The parties then diverge in their calculations. Defendant calculates his offense level as

a base of 6 plus a two-level enhancement for use of a “special skill” pursuant to Guidelines Section

3B1.3 and a two-level reduction for timely acceptance of responsibility, resulting in a total offense

level of 6 and an advisory Guideline range of 1-7 months.

       The Government’s Offense Level Calculation

       The Government asserts however that the exception to § 2B1.1 applies. More specifically,

§ 2B1.1 provides for a base offense level of 6 unless:

       (B) the defendant was convicted under a statute proscribing false, fictitious, or fraudulent
       statements or representations generally (e.g. 18 U.S.C. § 1001, § 1341, § 1342, or § 1343);
       and (C) the conduct set forth in the court of conviction establishes an offense specifically
       covered by another guideline in Chapter Two (Offense Conduct), apply that other guideline


U.S.S.G. § 2B1.1(c)(3). The Court notes that since it is undisputed that Defendant was convicted

under 18 U.S.C. § 1001 – a statute proscribing false statements or representations – only the

aforementioned subpart (C) is in dispute.

       Defendant summarizes concisely the Government’s calculation based on application of that

exception, as follows:



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       The government asserts [ ] that “the cross reference in Section 2B1.1(c)(3) applies because
       Mr. McGonigal was convicted under a statute proscribing false, fictitious, or fraudulent
       statements or representations generally and the conduct set forth in the court of conviction
       establishes an offense specifically covered by another guideline. According to the
       government, because the statement of offense also arguably establishes a violation of 18
       U.S.C. § 1519, which is covered by Section 2J1.2(a), Mr. McGonigal’s base offense level
       would be 14. Moreover, because Mr. McGonigal’s offense resulted in “substantial
       interference” with the administration of justice, the government asserts that a three-level
       increase should be applied pursuant to Section 2J1.2(b)(2). Combined with the two-level
       enhancement for use of a “special skill” pursuant to Section 3B1.3, and a three-level
       reduction for timely acceptance of responsibility pursuant to Section 3E1.1, the
       government argues that Mr. McGonigal’s adjusted offense level is thus 16, and his advisory
       Guidelines range is 24-30 months.


Def.’s Sent. Mem., ECF No. 40, at 6.

       Calculation of Base Offense Level

        In support of utilizing a base offense level of 14, the Government indicates that “the

conduct for which the defendant was convicted [false statements under 18 U.S.C. § 1001]

establishes a violation of 18 U.S.C. § 1519” which is “an offense specifically covered by another

guideline in Chapter Two.” Govt. Sent. Mem., ECF No. 39, at 8. Section 1519 imposes criminal

liability on anyone who “knowingly . . . conceals, covers up, falsifies, or makes a false entry in

any record, document, or tangible object with the intent to impeded, obstruct, or influence the

investigation or proper administration of any matter within the jurisdiction of any department or

agency of the United States.” 18 U.S.C. § 1519. This statute applies to false statements on “OGE-

287” forms. See, e.g., United States v. Saffarinia, 424 F. Supp. 3d 46, 80 (where the court

concluded that “the statutory text is broad enough to cover Mr. Saffarinia’s alleged obstructive

conduct [failure to disclose a loan],” and further, “[that] imposing a requirement that the matter

develop into a formal investigation ignores the plain meaning of the statute” where “the plain

language of § 1519 supports a broad interpretation of the words ‘investigation’ and ‘matter’”)

(internal quotations and citation omitted).

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       In the instant case, Mr. McGonigal violated §1519 each of the two times he submitted his

OGE-278 forms without disclosing the loan received from Person A. See PSR, ECF No. 37 at ¶¶

17, 47, 49 (discussing submission of OGE-278 forms); Statement of Offense, ECF No. 32, at ¶¶ 3,

16, 17, 33, and 35; Indictment, ECF No. 1 (Counts 8 and 9). The conduct for which Defendant

was convicted establishes a violation of 18 U.S.C. § 1519 (Destruction, alteration, or falsification

of records in Federal investigations and bankruptcy), which is an offense “covered by another

guideline in Chapter Two,” i.e., U.S.S.G. § 2J1.2. Govt. Sent. Mem., ECF No. 39, at 8-9.

Accordingly, because the requirements in the cross-reference in Section 2B1.1(c)(3) have been

met, Defendant’s base offense level should be calculated as 14.

       Defendant concedes that, in United States v. Hawkins, 185 F. Supp. 3d 114, 118 (D.D.C.

2016) (Kollar-Kotelly, J.), this Court “held that it may consider conduct in the statement of

offense,” in applying the obstruction of justice guideline to a Section 1001 conviction.

Furthermore, Defendant acknowledges that, in Saffarinia, the court there held “that at the motion

to dismiss phase[,] Section 1519 is broad enough to cover false statements on OGE-278 forms[.]”

Def.’s Sent. Mem., ECF No. 40, at 7. Defendant relies however on United States v. Clinesmith,

No. 1:20-cr-165 (D.D.C. 2020), alleging that “the government did not seek and the sentencing

court did not independently apply the cross-reference to the obstruction Guideline” in that case.

Def.’s Sent. Mem., ECF No. 20, at 6. That case involved the sentencing of an attorney working

for the FBI “who caused false information to be submitted to the U.S. Foreign Intelligence

Surveillance Court (“FISC”) in an application for a Foreign Intelligence Surveillance Act (“FISA”)

warrant sought in connection with an active FBI investigation.” Id. at 6-7.1 Defendant indicates



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        The defendant in Clinesmith altered an e-mail, which “misled the FISC regarding salient
and necessary facts [about the status of an individual’s prior relationship with the CIA].”
Sentencing Transcript, ECF No. 48, at 19:25-19:2. The court in Clinesmith opined that the
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that the Clinesmith court’s “more recent analysis” of this issue should apply, insofar as the court

there “declined to apply” the cross reference, id. at 7, but this Court has reviewed the sentencing

transcript from that case and found no analysis/discussion regarding this issue. Accordingly,

Defendant’s reliance on Clinesmith is non-persuasive, and the Government having demonstrated

that the requirements in the cross-reference in Section 2B1.1(c)(3) have been met, this Court finds

that a base offense level of 14 is the correct calculation.

       Three-Level Increase

       The Government contends further that “a three-level increase is appropriate under §

2J1.2(b)(2) because the defendant’s offense involved substantial interference with the

administration of justice, which is defined as a ‘premature or improper termination of a felony

investigation; an indictment, verdict or any judicial determination based upon perjury, false

testimony, or other false evidence; or the unnecessary expenditure of substantial governmental or

court resources.’” Govt. Sent. Mem., ECF No. 39, at 9-10 (quoting § 2J1.2(b)(2) commentary). In

support thereof, the Government explains that Defendant acknowledged that he “concealed from

the FBI the true nature of his relationship with person A” and admitted to “speaking with a foreign

official about a matter in which Person A had a financial interest, and opening a criminal

investigation based on information provided to him by Person A, all without disclosing . . . that he

had received hundreds of thousands of dollars from Person A.” Govt. Sent. Mem., ECF No. 39,

at 10 (citing a case involving the improper termination of an investigation).

       Defendant disputes however that the three-level enhancement for “substantial interference”




defendant “obtained no real personal benefit from his actions and he had no active intent to
harm,” and further, by altering the e-mail, “he was saving himself some work and taking an
inappropriate shortcut,” but the court did not believe that defendant was “attempting to achieve
an end he knew was wrong.” Id. at 51:8-18.
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applies in this case, where an investigation was opened, as opposed to cases involving the

“premature or improper termination of a felony investigation.” Def’s Sent. Mem., ECF No. 40, at

7.   Defendant ignores however the Government’s contention that a three-level increase is

warranted also because Mr. McGonigal’s actions in the course of his offense resulted in “an

unnecessary expenditure of substantial governmental resources.” Govt. Sent. Mem., ECF No. 39,

at 10. The Government explains that there was an internal FBI review “of numerous other

investigations to [make sure] that none were compromised during the defendant’s tenure as an FBI

special agent and supervisory special agent.” Id.; see, e.g., United States v. Jackson, 67 F.3d 1359,

1369-1370 (8th Cir. 1995) (referencing the application notes to § 2J1.2(b)(2) and specifically, the

“unnecessary expenditure of substantial governmental or court resources”).           An increase is

warranted where, as in this case, there is a direct causal link between the defendant’s crimes and

the government’s need for an investigation. Id. (requiring a “causal link” between the crimes and

the need for an investigation). “[T]he Government need only show a general causal tie between

the defendant’s actions and the otherwise unnecessary expenditure.” United States v. Wright, No.

CR 21-341 (CKK), 2023 WL 2387816, at *12 (D.D.C. Mar. 4, 2023). Accordingly, because the

Defendant’s actions in connection with his offense necessitated a government investigation that

resulted in unnecessary expenditure of substantial governmental resources, a three-level increase

is warranted in this case, resulting in an offense level of 17.

       Remainder of Offense Level Calculation

       The parties have agreed to an additional two-level increase because of Defendant’s abuse

of a position of public trust. PSR, ECF No.37, at ¶59. This results in an offense level of 19, which

is reduced by three-levels for acceptance of responsibility, id. at ¶¶63, 63a, therefore totaling 16.

Accordingly, it is this 12th day of February 2024,



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       ORDERED that the Court upholds the calculation of Defendant’s total offense level of 16,

as calculated in the Final Presentence Report, and the Court overrules the Defendant’s objections

to this calculation, as set forth in the Defendant’s Sentencing Memorandum.



                                                    _____________/s/_________________
                                                    COLLEEN KOLLAR-KOTELLY
                                                    UNITED STATES DISTRICT JUDGE




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